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                                                                                            Sentencing Argument 1

Defendant argues he received no definitive instructions regarding attack planning and points to
                                                                                                             Defendant's Proffer Statements
his false statements to the FBI in July 2015 to support of his claim.
                                                                                                             Defendant stated his ISIS contact ("the guy in Syria"), with whom he communicated regarding the
                   Page 4                                                                                    money transfers, gave him three options for a terrorist attack – be a suicide bomber, do some sort
                   "In late March 2015, Mr. Elshinawy began receiving money from ISIS to fund some           of operation, or travel to Syria to fight with ISIS. Defendant said he was not ready to be a suicide
                   kind of operation in the United States, the nature of which is unknown."                  bomber or travel to Syria, so he decided to conduct his own operation.

 Def. Stcg. Mem. Page 21                                                                                     Defendant stated his ISIS contact sent three encrypted and password protected pictures of three
   (ECF 138)     "[W]hatever discussions Mr. Elshinawy did have about a terrorist attack occurred via        different people as potential targets, one of whom was in Texas. Defendant “googled” the name
                 encrypted applications, for which records are irretrievable. Mr. Elshinawy described        of the Texas subject and discovered he owned an insurance company in Texas. Defendant knew
                 to the agents during his first and second interviews that he was provided little to no      this individual to be the target of an ISIS assassination for which the defendant would be the
                 specific direction by his ISIS contacts regarding the type of attack to launch. His ISIS    intended killer.
                 contacts merely provided Garland, Texas as a reference."
                                                                                                             Defendant stated his ISIS contact sent him an encrypted Book of the Mujahideen as a guide for
                                                                                                             ways in which to conduct the intended assassination.

                   Pages 20-21
                                                                                                             During the planning to assassinate the subject in Texas, the ISIS contact advised the defendant
                   "As the FBI 302 of his July 17, 2015 interview stated, 'no guidance was given' but 'the
                                                                                                             on ways to maintain operational security, including not using credit cards for gas or hotels, buying
                   Draw Mohammed Contest in Texas was given as an option.'"
 Def. Stcg. Ex. 4                                                                                            face masks and a police scanner, and using multiple passports to evade law enforcement while
Sageman Report                                                                                               traveling.
                  "In the discovery material, there is no act in furtherance that might shed light on what
  (ECF 138-4)
                  Mr. Elshinawy's plan might have been. Mr. Elshinawy told the FBI that he was not
                                                                                                             Defendant advised his ISIS contact that he needed $6-7,000 for a new car to drive to Texas to do
                  given specific direction by his contact, who mentioned the Garland, Texas attempted
                                                                                                             the assassination. Both agreed that this much money could not be sent at once, so the plan
                  attack against participants in the Draw Mohammed contest."
                                                                                                             changed.
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                                                                                           Sentencing Argument 2

Defendant argues he had no attack plans of his own and took no steps to further any such plan.              Defendant's Proffer Statements

                   Page 21
                   "Mr. Elshinawy's particular objectives, beyond harboring the idea of committing some
                   generalized terrorist attack, are unknown."

                   Page 23
                   "[Defendant's] contact with the [UK] company appears to be limited solely to
                   conversation directed at getting money for his operation, but he had no specific plan
                   in mind."
 Def. Stcg. Mem.
   (ECF 138)     "No concrete evidence exists to determine the nature of the attack that Mr. Elshinawy
                                                                                                            Defendant stated that after the Texas plan was shelved, he was instructed to check for events to
                 was contemplating. Therefore, the Court similarly cannot draw any conclusions as to
                                                                                                            target and provide progress reports to his ISIS contact of what he was doing.
                 whether Mr. Elshinawy's motive was to initimdate or coerce a civilian population. As
                 this case demonstrates, since Mr. Elshinawy never actually formulated a specific
                                                                                                            Defendant stated that he agreed to make a bomb that he would place somewhere where it would
                 plan, neither the [terrorism] enhancement nor Note 4 [of § 3A1.4] applies."
                                                                                                            kill a lot of people. The ISIS contact said ISIS would provide whatever monies the defendant
                                                                                                            needed to accomplish his task.
                   Pageg 35
                   “… Mr. Elshinawy had not formulated any specific plan for a terrorist operation in the
                                                                                                            Defendant said he told Individual 1 and the ISIS contact that he did not know how to make a
                   United States and took no steps in furtherance of any specific plan ….”
                                                                                                            bomb, or what to do: he was told to take his time and he would be taught. Defendant said he
                                                                                                            subsequently received 16-17 encrypted Dropbox links of videos on how to make a bomb. He
                   Page 5                                                                                   stated that he used Linux and Trucrypt and an unnamed browser to access and view these
                   Raising inference that defendant had no attack plans: “Mr. Elshinawy never               videos, which provided step by step instructions on how to make a peroxide based bomb.
   Def. Reply
                   discussed the details of any operation or plan with Tamer on Facebook, or in any
   Stcg. Mem.
                   other forum for which evidence exists…. Mr. Elshinawy vaguely referenced ‘a dream
    (ECF 143)
                   project’ and asked whether ‘making a small thing with a silencer’ was ‘difficult or
                   easy.’ It is impossible to glean from this information the nature of any attack.”

               Pages 50-51 (Def. Direct Exam)
 Stcg. Hearing Stating that the nature of the attack defendant wanted to conduct was vague and
 Sageman Test. there was nothing specific the defendant zeroed in on, but then acknowledging that
   (ECF 190)   defendant provided different information in his proffer. (Cross-exam not permitted
               regarding proffer.)
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                                                                                         Sentencing Argument 3

Defendant argues that due to certain conversations with his brother, he decided to abandon his
                                                                                                        Defendant's Proffer Statements
ISIS-related plans before the FBI visited him on July 17, 2015.
                 Pages 7-8
                 “Mr. Elshinawy’s brother, Ahmed Elshinawy, was critical to Mr. Elshinawy’s decision
 Def. Stcg. Mem. to abandon any plan for a terrorist attack …. [O]n July 8, nine days before the FBI
    (ECF 138)    knocked on his door, [defendant] wrote to Ahmed that he was ‘convinced’ of the story
                 [of Uwais told to him by his brother on June 28], and, as a result, decided not to
                 travel to Syria.”
                 Page 6
   Def. Reply    “As Dr. Sageman described in his expert report, Mr. Elshinawy’s communications         Defendant stated that at a point in time, not specified, he received a suspicious Friend request on
   Stcg. Mem.    with his brother were paramount to his decision not to travel to Syria and to          his social media account and suspected he was being followed by the FBI.
    (ECF 143)    disentangle himself from ISIS – all communications which occurred prior to the FBI’s
                 first interview on July 17, 2015.”                                                     Defendant stated that after he received the suspicious Friend request, he told his ISIS contact and
                  Page 19                                                                               Individual 1 that the FBI was onto him and he was stopping, prompting the ISIS contact to instruct
                  “By July 8, Mr. Elshinawy wrote his brother that he was convinced by Uwais’ story,    him to abort and come to Syria.
                  meaning that he had given up going to Syria altogether.’”
 Def. Stcg. Ex. 4                                                                                       When asked about his brother, Defendant never identified any influence from his brother affecting
 Sageman Rpt. Page 22                                                                                   his plans regarding attack planning, travel to Syria, joining ISIS, etc.
  (ECF 138-4) “By July 8, 2015, Ahmed convinced Mr. Elshinawy not to go to Syria and not to
                  engage with the Islamic State with the story of Uwais al-Qarani. As mentioned
                  earlier, this abandonment happened before the FBI came to interview Mr.
                  Elshinawy.”
 Stcg. Hearing Pages 49-50 (Def. Direct Exam); 69-71 (Govt. Cross Exam)
 Sageman Test. Opining that the defendant had abandoned his ISIS-related plans after being
   (ECF 190)   convinced, and talked out of it, by his brother.
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                                                                                         Sentencing Argument 4

Defendant argues that his use of a Linux operating system is not a factor that evidences his
                                                                                                          Defendant's Proffer Statements
intent to conceal his criminal conduct.

                  Page 9
                  “Mr. Elshinawy’s conduct [in consenting to search of his computers in July 2015]
                  does not evidence a desire to hide his activities.”

                  “The government has made no contention that Mr. Elshinawy modified his computers
                  in any way between the date of the first FBI interview and the October 9, 2015,
                  search to prevent the government from obtaining information about his activities.”
   Def. Reply
   Stcg. Mem.     “… Mr. Elshinawy’s use of a Linux operating system is hardly novel or nefarious.”
    (ECF 143)
                  “… Mr. Elshinawy utilized a form of Linux known as ‘Ubuntu,’ a popular and user-
                  friendly interface.”                                                                    Defendant stated his ISIS contact told him to use Linux if he wanted to hide his tracks.

                  Page 10
                  “… Mr. Elshinawy ran Ubuntu from a thumb drive on his HP computer because the
                  hard drive on that laptop was irreparably damaged….” (raising inference that this was
                  the sole, or primary, reason for utilizing Linux).

                  Page 13-14 (Defense Cross Exam)
 Stcg. Hearing    Defense counsel sought to have Ms. Hajeski confirm that the Ubuntu interface for
 Hajeski Test.    Linux that defendant was using was commonly used and user friendly – in response
   (ECF 190)      Ms. Hajeski testified that Linux is not a very popular system, Ubuntu is not that
                  common, and Ubuntu is not among the more user-friendly versions of Linux.
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                                                                                  Sentencing Argument 5

Defendant argues his association with ISIS was brief.                                           Defendant's Proffer Statements

 Def. Stcg. Mem. Page 30                                                                        Defendant stated his support of ISIS began when he was in Egypt during the Egyptian revolution.
   (ECF 138)     “Mr. Elshinawy’s association with ISIS was brief.”                             (Defendant in Egypt from early July 2012 through early November 2013.)
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                                                                                         Sentencing Argument 6

Defendant argues he was fully cooperative with the FBI.                                                   Defendant's Proffer Statements

                   Page 9
                   “Mr. Elshinawy … cooperated with the government’s investigation.”
                                                                                                          Defendant stated he deleted all links and videos provided to him by his ISIS contact the minute
                 Page 26
                                                                                                          the door shut behind the interviewing agents on July 17, 2015, because he did not want anyone to
                 “Mr. Elshinawy’s conduct [following his July 2015 interviews] … can hardly be
 Def. Stcg. Mem.                                                                                          see them and he was being cautious.
                 characterized as obstructionist.”
   (ECF 138)
                                                                                                          Defendant stated that the FBI agents who searched his home in October 2015 missed locating
                   Page 35
                                                                                                          and seizing a phone and a scrap of paper containing a very important password. He stated he
                   “Mr. Elshinawy … confessed to the FBI, and cooperated with the FBI’s investigation.”
                                                                                                          tore up the piece of paper and threw it away.
                   “Mr. Elshinawy confessed his crimes to the FBI.”
                                                                                                          When asked to explain why he never revealed any information to the FBI in July 2015 about the
                                                                                                          attack planning and instructions he received, and his other conduct in deleting evidence, the
                   Pages 10-11                                                                            defendant had no response.
   Def. Reply
                   “Mr. Elshinawy’s deletion of [his social media] communications also demonstrates
   Stcg. Mem.
                   nothing more than that Mr. Elshinawy was acting as persons engaged in criminal
    (ECF 143)
                   activity would act.”
                                                     Case 1:16-cr-00009-ELH Document 215-1 Filed 02/09/18 Page 7 of 7
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                                                                                           Sentencing Argument 7

Defendant argues his contact with the UK Company was limited to getting money for his
                                                                                                         Defendant's Proffer Statements
operation.
                   Page 23
                   “[Defendant’s] contact with the [UK] company appears to be limited solely to
                   conversations directed at getting money for his operation ….”                         Defendant stated that in one of his conversations with his ISIS contact, with whom he spoke every
 Def. Stcg. Mem.
                                                                                                         day for several months via Telegram and Surespot, the contact told him that they [ISIS] would win
   (ECF 138)
                   Page 33                                                                               the war if it were not for the USA's drones, stating, "the drones are killing us."
                   “Mr. Elshinawy was neither part of, nor privy to, any information about the [UK]
                   company’s aims or operations beyond his specific transactions.”
